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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                  Case No. 24-CR-20155-RAR

  UNITED STATES OF AMERICA

  vs.

  ENRIQUE PEREZ-PARIS,
  DIEGO SANUDO SANCHEZ CHOCRON,
  GREGORY CHARLES MILO CASKEY,
  OMAR PALACIOS, and
  NADIR PEREZ

                 Defendants.
                                            /

    GOVERNMENT’S NOTICE OF AUTHORITY REGARDING DEFENDANT DIEGO
           SANUDO SANCHEZ CHOCRON’S PRIVILEGE WAIVER

         The United States of America, by and through undersigned counsel, hereby files this notice

  of authority regarding Defendant Sanchez’s privilege waiver. Generally, a privilege waiver

  extends to all communications and information concerning the subject matter. Fed. R. Evid.

  502(a). The following authority provides that Defendant Sanchez’s waiver applies to all advice

  over which he is waiving, not just a specific attorney:

         •       United States v. Jensen, 573 F. App’x 863, 870 (11th Cir. 2014) (“By
                 claiming that [he] lacked intent to defraud because attorneys told
                 him that [the disputed] transactions were legal, [defendant] waived
                 the attorney-client privilege with respect to communications with
                 counsel concerning [their] legality.”).

         •        Cox v. Administrator United States Steel & Carnegie, 17 F.3d 1386,
                 1417 (11th Cir. 1994) (“A defendant may not use the privilege to
                 prejudice his opponent’s case or to disclose some selected
                 communications for self-serving purposes.”) (internal quotation
                 marks omitted) (quoting United States v. Bilzerian, 926 F.2d 1285,
                 1292 (2d Cir. 1991)).

         •       [ECF No. 799], United States v. Carver et al., No. 22-cr-80022 (S.D.
                 Fla.) (Aug. 31, 2023) (adopting report and recommendation and
                 holding that “a waiver associated with the advice-of-counsel defense
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                applies solely to the attorneys relied upon, or more broadly to the
                subject matter of the advice relied upon.”) (Exhibit A).

         •      United States v. Bachynsky, No. 04-20250-CR, 2007 WL 1521499,
                at *2 (S.D. Fla. May 22, 2007) (“When a party asserts an advice of
                counsel defense, the party waives the attorney-client privilege as to
                the subject matter of that advice.”).

                                              Respectfully submitted,

                                              HAYDEN O’BYRNE
                                              UNITED STATES ATTORNEY

                                              GLENN S. LEON, CHIEF
                                              U.S. DEPARTMENT OF JUSTICE
                                              CRIMINAL DIVISION, FRAUD SECTION

                                     By:       /s/ Reginald Cuyler Jr.
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                                 CERTIFICATE OF SERVICE

         I hereby certify that, on March 5, 2025, I served and filed the forgoing document with the

  Clerk of the Court via ECF.

                                     By:      /s/ Reginald Cuyler Jr.
                                              Reginald Cuyler Jr.
                                              Trial Attorney
